 

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW _ JERSEY
Caption in compliance with D.N.J. LBR 9004-1

FREEDMAN LAW, LLC

Terri Jane Freedman, Esq.

9 Elkin Drive

Livingston, New Jersey 07039
Telephone: (973) 985-9408

E-mail: tifreedman/a)freedmanlawllc.com

Attorneys for Nancy Isaacson, Chapter 7 Trustee

 

 

In re: Case No.: 15-22985 (JKS)

AKESIS, LLC,

Debtor. Chapter 7

 

 

NOTICE OF MOTION FOR APPROVAL OF SETTLEMENT OF ALL
CLAIMS BY TRUSTEE AGAINST HOPE CLINICAL RESEARCH, MEDICAL
CENTER FOR CLINICAL RESEARCH AND
LCC MEDICAL RESEARCH INSTITUTE PURSUANT TO RULE 9019

PLEASE TAKE NOTICE that on Apr:'/ 2 » 2019 at 10:00 a.m. or as soon thereafter as
counsel may be heard, the undersigned attorneys for Nancy Isaacson, Chapter 7 Trustee (the
“Trustee”) for the estate of Akesis, LLC, shall apply to the Honorable John K. Sherwood,
Bankruptcy Judge, at the United States Bankruptcy Court, 50 Walnut Street, Newark, New
Jersey, 07102, pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure for entry of
an order approving of the proposed settlement of all claims of the Trustee against Hope Clinical
Research, Medical Center For Clinical Research and LCC Medical Research Institute, LLC.

PLEASE TAKE FURTHER NOTICE that in support of the within Motion, the Trustee
shall rely upon the Certification of Nancy Isaacson.

PLEASE TAKE FURTHER NOTICE that a proposed form of Order is submitted with
this motion.
Dated: March '7, 2019
FREEDMAN LAW, LLC

si Terri Jane Freedman

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E-mail: tifteedman@treedmanlawllc.com

 
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